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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA

vs. : NO. 2:08~CR~155
JUDGE SMITH
GEORGE MICHAEL RILEY

GOVERNMENT'S PLEA AGREEMENT SUBMISSION
OF ELEMENTS AND PENALTIES FOR
18 U.S.C. §§1014 & 2
COUNT 3

1. ELEMENTS: 18 U.S.C. §1014 & 2

First: That defendant knowingly made a false
statement;
Second: That such false statement was made to a

federally insured bank;

Third: That the purpose cf the false statement was
to influence the actions of the bank; and

Fourth: That such statement was made in the Southern
District of Ohio.

BL_EENBLILE§
A. Mandatory Minimum: Nene

B. Possible Maximum: 30 years in prison, $1,000,000
fine, 5 years supervised
release, and $100 special
assessment.

GREGORY G. LOCKHART
United States Attorney

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